Case 1:21-cv-03028-RC Document 17 Filed 11/29/21 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MILLER LEGAL, LLP,
d/b/a BANNER LEGAL,

Plaintiff,
Case No.: 1:21-cv-03028-RC

Vs.

PETER MILLER, ESQUIRE, et al.,

 

Defendants.

STIPULATED TEMPORARY RESTRAINING ORDER

The Parties have conferred concerning the Motion of the Plaintiff for a Temporary
Restraining Order. The Parties hereby stipulate and agree as follows:

I For the duration of this Stipulated Temporary Restraining Order, Defendant ARX
Management, LLC, a “settlement iacutenotee for various Roundup cases in which Defendants
Peter Miller and Miller DellaFera, PLC (“Miller Defendants”) are entitled to receive legal fees, is
restrained from paying, and will not pay, any legal fees to the Miller Defendants.

2 For the duration of this Stipulated Temporary Restraining Order, the Miller
Defendants will not receive fees from nor request the distribution of fees to themselves from
ARX Management, LLC.

3. The duration of this Stipulated Temporary Restraining Order shall be 21 calendar
days from the date that it is entered by the Court or until the Parties appear before the Court for a
hearing on Plaintiffs’ Motion for Preliminary Injunction, whichever period is shorter. (The
Parties agree to abide by the restraints described in paragraphs | and 2 for the period between the

time that this Stipulated Temporary Restraining Order is filed and the time that it is entered as an

Order by the Court.)
Case 1:21-cv-03028-RC Document 17 Filed 11/29/21 Page 2 of 3

4, This Stipulated Temporary Restraining Order is made without prejudice to the

rights of any Party to assert defenses or request relief at a hearing on Plaintiffs’ Motion for

Preliminary Injunction the Preliminary Injunction hearing.

Respectfully submitted,

/s/ §. Jamey Boumit, Esq.
S. James Boumil, Esq.

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Counsel for Defendants Peter Miller and

Miller DellaFera, PLC

 

 
Case 1:21-cv-03028-RC Document 17 Filed 11/29/21 Page 3 of 3

ARX MANAGEMENT, LLC

By: /s/__Derek Brown
CEO, Authorized agent

1730 El Segundo, CA 90245

Tel: 310-292-0345

Email: brown@arxmgmt.com

SO ORDERED this A4 day of ovembse— , 2021:

fof. {A——

United States Djftrict Court Judge

 
